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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF DELAWARE

                                                                )
In re:                                                          )
                                                                )
REMBRANDT TECHNOLOGIES, LP                                      )        MDL Docket No. 07-md-1848-GMS
PATENT LITIGATION                                               )
                                                                )
                  Plaintiff,                                    )


                                                      ORDER

         WHEREAS, on August 20, 2015, the court issued an Order granting All Other Parties

("AOPs") and Adelphia's Motions for a Determination That This Is an Exceptional Case and an

Award of Attorneys' and Experts' Fees and Costs and ordered AOPs to submit documentation

detailing their requests (D.I. 951);

         WHEREAS, on August 24, 2016, the Court entered a further order ruling on Rembrandt's

objections to the AOPs (including Adelphia's) Reasonable Fees Request (D.I. 1013);

         WHEREAS, the Court ordered the AOPs to submit a revised proposed order in compliance

with the Court's August 24, 2016 Order;

         WHEREAS, the court having considered the AOPs revised proposed order (D.I. 1022),

Rembrandt's Notice of Objection (D.I. 1027), and the AOPs Opposition to Rembrandt's Notice of

Objection (D.I. 1043);

         IT IS HEREBY ORDERED THAT 1:


         1
           The court notes that Rembrandt did not have leave to file notice of objection to the AOPs Final Proposed
Order. Nevertheless, the court will address relevant objections out of an abundance of caution to Rembrandt's
substantive rights.
          Rembrandt objects to therevised proposed order, arguing it is procedurally and substantively flawed, because
it includes the following: (1) an additional $7-10.5 million in fees and expenses, (2) new parties and four counsel that
were not included in the original request, (3) bankruptcy fees and expenses which the court expressly precluded, and
(4) newly asserted expenses relating to the '627 patent. (D.1. 1027 at 4.) Particularly, Rembrandt asserts that waiver
or equitable estoppel bars the relevant AOPs from unilaterally amending their fee request to see additional fees and
claims the proposed amendment prejudices Rembrandt. (Id. at 6-7.) In response, the AOPs argue that it inadvertently
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         1.       Plaintiff shall pay the fees and costs listed below:


 Party· .·                              Attorney.s' Fees .                      Costs
 Motorola, Inc.                         $4,071,863.54                           $727,513.80

 Cisco Systems, Inc.                    $6, 145,305.65                          $1,030,551.12

 Thomson, Inc.                          $956,313.97                             $155,990.50

 Ambit Microsystems, Inc.               $850,327.22                             $139,421.56

 NETGEAR, Inc.                          $268,990.54                             $32,694.82

 Cablevision entities                   $4,3 79 ,03 6 .28                       $219,903.51

 Charter entities                       $3 ,429 ,3 06.25                        $89,135.70

 Comcast entities                       $8,256,815.90                           $1,697,429.02

 Time Warner Cable entities             $8,051,264.4                            $323,226.15

 Cox entities                           $3,646,498.13                           $135,981.43


omitted information from its proposed order and that the revision identified a correction in the proposed order to make
it consistent with the fully supported fee application. (DJ. 1043 at 7-8.)
          The court is not convinced by Rembrandt's objections. Rembrandt seeks to elevate form over substance,
asserting that the AOPs did not follow the necessary procedure to amend their fee request. (D.I. 1027 at 4.) First, the
AOPs revised proposed order includes fees and expenses submitted with the documentation in their final fee
submission. (D.I. 962.) The court does not view the correction of the tabulation error as a substantive application, as
in Honeywell Intern. Inc. v. Audiovox Commun. Corp., 2005 WL2465898, at *1 n.3 (D. Del. May 18, 2005), for which
the court requires a motion. Accepting the AOPs explanation, the court finds that Rembrandt has not been prejudiced
and the record belies any waiver ofrelevant fees. In fact, the AOPs point to Rembrandt's own briefing and declarations
in opposition to the fee submission, which demonstrates Rembrandt's knowledge of the Cox and Adelphia fees and
costs request respectively. (D.I. 994at1; 1001, '11'1123, 61, 68.)
          Rembrandt also objects to expenses related to the '627 patent. (D.I. 1027 at 10-11.) The AOPs assert that
they have made timely applications for fees incurred relating to the '627 patent, citing the AOPs' Opening Brief in
Support of Their Reasonable Attorney Fees Request which provided detailed calculations of attorneys' fees and costs
in connection with the '627 patent. (D.I. 962 at 6 n.2; D.I. 965; D.I. 970; D.I. 971; D.I. 975.) The court agrees.
Because there is neither evidence of prejudice to Rembrandt nor grounds to exclude, the court will award fees and
costs attributable to the '627 patent litigation.
          Finally, Rembrandt objects to fees and costs related to the Adelphia Bankruptcy that were precluded by the
court's fee order. (D.I. 1027 at 10.) As Rembrandt correctly notes, the court expressly denied fees related to
Adelphia's Bankruptcy. This limitation, however, does not preclude an award of fees incurred defending the causes
of action that Rembrandt brought against Adelphia in the bankruptcy court that were ultimately consolidated in the
above-captioned multi-district litigation. Such a result would be inappropriate and deprive Adelphia of reasonable
attorneys' fees and costs absent evidence of a double recovery or prejudice to Rembrandt. As a result, the court
concludes that it is reasonable to award Adelphia expenses relating to the Rembrandt litigation while it was pending
in the Bankruptcy Court for the Southern District of New York.



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 Adelphia entities             $5,422,870.83                   $253,430.37
      2.      The applicable post-judgment interest rate is 0.39%, as set forth in 28 U.S.C.

§1961(a). Post-judgment interest on the amounts listed in paragraph 1 ofthis Order shall accrue

in a total amount of $537.28 per day, beginning August 20, 2015, until the judgment is satisfied,

and shall be paid to each defendant in proportion to the total fees and costs owed to that defendant.

Interest shall be compounded annually, as specified by 28 U.S.C. §196l(b).

       3.      Plaintiffs shall further pay the fees and costs listed below:

. Party "                         .Attorneys'. Fees                  Costs
  Cisco Systems, Inc.              $381,507.15                       $2,954.88

 Cablevision entities             $117,011.70                        $0.00

 Charter entities                 $65,933.69                         $0.00

 Comcast entities                 $177,496.60 (fees and costs)
 Time W amer Cable entities       $34,427.92 (fees and costs)
 Cox entities                     $44,994.25                         $3,612.73
 Adelphia entities                $128,951                           $432.45


       4.      The applicable post-judgment interest rate is 0.58%, as set forth in 28 U.S.C.

§1961(a). Post-judgment interest on the amounts listed in paragraph 3 of this Order shall accrue

in a total amount of $15.21 per day, beginning August 24, 2016, until the judgment is satisfied,

and shall be paid to each defendant in proportion to the total fees and costs owed to that defendant.

Interest Shall be compounded annually, as specified by 28 U;S.C. §1961(b).




Dated: March ~ , 2017




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